 Case: 4:11-cr-00481-SNLJ         Doc. #: 143 Filed: 05/09/12      Page: 1 of 1 PageID #:
                                            518



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
       vs.                                ) Case No. 4:11CR00481 SNLJ
                                          )
ANTHONY McALLISTER,                       )
                                          )
                     Defendant.           )

                                          ORDER

       IT IS HEREBY ORDERED that the report and recommendation of United States

Magistrate Judge Frederick R. Buckles (#125), filed on April 13, 2012 be and is SUSTAINED,

ADOPTED and INCORPORATED herein.

       IT IS HEREBY ORDERED Defendant’s Motion to Dismiss Indictment (#65) be

DENIED.

       Dated this 9th day of May, 2012.



                                          _____________________________________
                                          STEPHEN N. LIMBAUGH, JR.
                                          UNITED STATES DISTRICT JUDGE
